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                             UNITED STATES DISTRICT COURT

                                      DISTRICT OF MAINE


CALEB MAXHAM,                                 )
                                              )
       Plaintiff                              )
                                              )
               v.                             )       1:16-cv-00030-JAW
                                              )
CORRECT CARE SOLUTIONS, et als.               )
                                              )
       Defendants                             )


                           MOTION FOR SUMMARY JUDGMENT

       Pursuant to Rule 56(a) of the Federal Rules of Civil Procedure, defendant Daniel Landry

hereby moves for summary judgment. As grounds for this motion, defendant states that there is

no issue of material fact and that defendant is entitled to judgment as a matter of law.

Specifically, defendant states that plaintiff failed to exhaust administrative remedies available to

him before filing suit, and that his complaint is barred by the exhaustion requirement of the

Prison Litigation Reform Act and must be dismissed.



                        MEMORANDUM IN SUPPORT OF MOTION

                               Facts and Procedural Background

       Plaintiff Caleb Maxham is a prisoner currently incarcerated at the Maine State Prison

(MSP). The events that give rise to his complaint took place while Maxham was a prisoner at

the Maine correctional Center (MCC).

       According to the Complaint, on August 11, 2015, Maxham got into a verbal

confrontation with Corrections Officer Lincoln. At some point, Maxham requested to be taken



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to segregation, a request that he alleges was denied by defendant Sergeant Daniel Landry. He

was at one point locked in his cell, but then was allowed out, at which time he resumed his

verbal harangue of Officer Lincoln from the upper tier railing. At that time, according to the

Complaint, Landry sneaked up on Maxham, and, without ordering him to lock in or otherwise

warning, Landry applied chemical agents. Maxham alleges that he then began to swing “out of

pure instinct,” and that he was grabbed by officers who struggled to restrain him. He claims that

Landry “gave the order to hit my head off of the railing,” causing Maxham to sustain a head

injury.

          Maxham also made claims against MCC’s medical providers and the hospital where he

was taken for treatment after the incident regarding the quality of the medical care he received.

          The Department has in place a grievance policy that allows prisoners to “…request

administrative review of any policy, procedure, practice, condition of confinement, action,

decision, or event that directly affects [the prisoner]…” If a prisoner in unable to resolve the

complaint informally, he may file a formal grievance with the facility’s grievance review officer.

Additional levels of review – by the chief administrative officer of the facility and ultimately by

the Commissioner of the Department of Corrections – are available.

          Maxham was transferred from MCC to MSP on August 13, 2015, two days after the

alleged incident. The affidavits of the grievance review officers at MCC and MSP establish that

Maxham did not file a grievance about this incident at either facility.

          After conducting his initial review of the Complaint pursuant to 28 U.S.C. §§ 1915 and

1915A, the magistrate recommended that the complaint be dismissed as to the medical provider

and hospital for failure to state a claim, but that the claim of excessive force against defendant

Landry be allowed to proceed. The court accepted this recommendation.



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         It is defendant Landry’s position that Maxham’s claim is barred by his failure to avail

himself of the available administrative remedy of the Department’s three-step grievance process,

as required by 42 U.S.C. § 1997e, and that his complaint must therefore be dismissed.

                                                  Argument

         Plaintiff failed to exhaust available administrative remedies, and his complaint must

be dismissed under the Prison Litigation Reform Act.

         The Prison Litigation Reform Act, 42 U.S.C. § 1997e(1)(a) states:

         No action shall be brought with respect to prison conditions under section 1983 of
         this title, or any other Federal law, by a prisoner confined in any jail, prison, or
         other correctional facility until such administrative remedies as are available are
         exhausted.

The exhaustion requirement applies to all claims arising from conditions of confinement. Porter

v. Nussle, 534 U.S. 516, 532 (2002). A finding that plaintiff failed to exhaust administrative

remedies is dispositive of other claims in the case. Id. at 16. The issue of exhaustion should be

decided prior to a hearing on the merits of the case, and a motion for summary judgment is an

appropriate vehicle with which to do so. Albino v. Baca, 747 F. 3d 1162, 1170 (9th Cir. 2014).

         In this case, Maxham’s claim that Landry employed excessive force to subdue him

clearly falls within the grievance policy’s purview of any “action, decision or event” that

affected the prisoner. Although the record establishes that an administrative process existed for

airing this complaint, Maxham failed to employ the Department’s grievance process at all.1

Because he did not comply with the requirement of the PLRA that he exhaust available

administrative remedies, his complaint must be dismissed.



1
  Under the grievance policy, the appropriate venue for such a grievance would have been MCC, as that is where
the alleged use of excessive force occurred. See, Policy 29.1, Procedure A(8). However, Maxham failed to pursue a
grievance at either facility.


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                                          Conclusion

       For the reasons stated above, defendant Landry requests that the court dismiss the

Complaint.



March 30, 2016                                      __/s/ James E. Fortin___
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                                     Certificate of Service

       The undersigned hereby certifies that he electronically filed the above document with the
Clerk of Court using the CM/ECF system, and that he mailed a copy, postage prepaid to the
following:

Caleb Maxham
Maine State Prison
807 Cushing Road
Warren, ME 04864


March 30, 2016                                      /s/ James E. Fortin
                                                    James E. Fortin
                                                    Assistant Attorney General




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